               Case 23-10831-MFW               Doc 994        Filed 02/15/24        Page 1 of 19




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 13, 2024, at my direction and under my supervision, employees of KCC
caused to be served the following documents via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Sixth Monthly Application of White & Case LLP for Allowance of Compensation and
         Reimbursement of Expenses for the Period December 1, 2023 to and Including
         December 31, 2023 [Docket No. 967]

    •    Sixth Monthly Fee Application of Baker & Hostetler LLP, as Special Litigation and
         Corporate Counsel for the Debtors, for Allowance of Compensation and
         Reimbursement of Expenses for the Period of December 1, 2023 Through December
         31, 2023 [Docket No. 970]

        Furthermore, on February 13, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following document via Electronic Mail upon the service lists
attached hereto as Exhibit C and Exhibit D; and via First Class Mail upon the service lists attached
hereto as Exhibit E, Exhibit F, and Exhibit G:




                                           (Continued on Next Page)




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
            Case 23-10831-MFW      Doc 994     Filed 02/15/24   Page 2 of 19




   •   Order Granting Continuance of Debtors’ Second Motion to Extend the Debtors’
       Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan [Docket No. 969]

Dated: February 15, 2024
                                               /s/ Michael Villa
                                               Michael Villa
                                               KCC
                                               222 N Pacific Coast Highway, 3rd Floor
                                               El Segundo, CA 90245
                                               Tel 310.823.9000




                                           2
Case 23-10831-MFW   Doc 994   Filed 02/15/24   Page 3 of 19




                    Exhibit A
                         Case 23-10831-MFW                Doc 994        Filed 02/15/24     Page 4 of 19
                                                               Exhibit A
                                                      Fee Application Service List
                                                       Served via Electronic Mail


          Description                    CreditorName               CreditorNoticeName                       Email
 Counsel to the Official                                        Matthew A. Sawyer, Sharon msawyer@brownrudnick.com;
 Committee of Equity Security                                   I. Dwoskin, Tristan G.      sdwoskin@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Axelrod                     taxelrod@brownrudnick.com
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 Committee of Equity Security                                   Silverberg, Michael S.      bsilverberg@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Winograd                    mwinograd@brownrudnick.com
 Debtors                          Lordstown Motors Corp.        Attn: Adam Kroll            Email Redacted
 Counsel to the Official                                        Eric J. Monzo, Brya M.      emonzo@morrisjames.com;
 Committee of Equity Security     Morris James LLP              Keilson                     bkeilson@morrisjames.com
                                  Office of the United States                               USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE    Trustee Delaware              Benjamin Hackman            benjamin.a.hackman@usdoj.gov
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton David M. Fournier, Tori L.     david.fournier@troutman.com;
 Creditors                        Sanders LLP              Remington                      tori.remington@troutman.com
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 Committee of Unsecured           Troutman Pepper Hamilton
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 Creditors                        Sanders LLP              Sean P. McNally                sean.mcnally@troutman.com
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 Co-Counsel for the Debtors
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 Co-Counsel for the Debtors                                     Thomas E Lauria, Matthew mbrown@whitecase.com;
 and Debtors-in-Possession        White & Case LLP              C. Brown, Fan B. He      fhe@whitecase.com
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 Possession                       (US) LLP                      Morgan L. Patterson       morgan.patterson@wbd-us.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                         Page 1 of 1
Case 23-10831-MFW   Doc 994   Filed 02/15/24   Page 5 of 19




                    Exhibit B
                                             Case 23-10831-MFW          Doc 994    Filed 02/15/24   Page 6 of 19
                                                                           Exhibit B
                                                                  Fee Application Service List
                                                                   Served via First Class Mail

                      Description                   CreditorName        CreditorNoticeName    Address1 Address2        City    State Zip
                                              Office of the United                           844 King St
             US Trustee for District of DE    States Trustee Delaware   Benjamin Hackman     Ste 2207    Lockbox 35 Wilmington DE   19801




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                    Page 1 of 1
Case 23-10831-MFW   Doc 994   Filed 02/15/24   Page 7 of 19




                    Exhibit C
                             Case 23-10831-MFW                  Doc 994          Filed 02/15/24               Page 8 of 19
                                                                       Exhibit C
                                                                Core/2002 Service List
                                                               Served via Electronic Mail


               Description                         CreditorName                   CreditorNoticeName                             Email
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 Top 30 and Committee of Unsecured        Barry L. Leonard and Company       dba Trans Machine
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 Amin on behalf of themselves and
 similarly situated stockholders of                                                                            greg.varallo@blbglaw.com;
 Lordstown Motors Corp. f/k/a             Bernstein Litowitz Berger &        Gregory V. Varallo, Glenn R.      glenn.mcgillivray@blbglaw.com;
 DiamondPeak Holdings Corp.               Grossmann LLP                      McGillivray, Daniel Meyer         daniel.meyer@blbglaw.com
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                                          Buchalter, A Professional
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 Insurance Company                        Connolly Gallagher LLP             Jeffrey C. Wisler                 jwisler@connollygallagher.com
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In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                 Page 1 of 3
                             Case 23-10831-MFW                  Doc 994        Filed 02/15/24               Page 9 of 19
                                                                       Exhibit C
                                                                Core/2002 Service List
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               Description                        CreditorName                   CreditorNoticeName                            Email
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 Amin on behalf of themselves and
 similarly situated stockholders of                                                                       gfbruckner@pomlaw.com;
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 Top 30 and Committee of Unsecured
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In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                               Page 2 of 3
                            Case 23-10831-MFW                 Doc 994         Filed 02/15/24            Page 10 of 19
                                                                     Exhibit C
                                                              Core/2002 Service List
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               Description                       CreditorName                   CreditorNoticeName                           Email
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 Technologies Ltd.                      Sullivan Hazeltine Allinson LLC    William A. Hazeltine             whazeltine@sha-llc.com
 Top 30 and Committee of Unsecured                                                                          jbasso@diversifiedtoolinggroup.com;
 Creditors                              Superior Cam Inc                   John Basso                       jmbasso@diversifiedtoolinggroup.com
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 Unsecured Creditors                    Sanders LLP                        Remington                        tori.remington@troutman.com
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 John LaFleur, and Rich Schmidt         Taylor, LLP                        Sean M. Beach, Shane Reil        sreil@ycst.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                               Page 3 of 3
Case 23-10831-MFW   Doc 994   Filed 02/15/24   Page 11 of 19




                    Exhibit D
                                       Case 23-10831-MFW     Doc 994     Filed 02/15/24   Page 12 of 19
                                                                  Exhibit D
                                                         Objecting Party Service List
                                                          Served via Electronic Mail

                                                  Description    CreditorName      Email
                                               Affected Claimant Rahul Singh  Email Redacted




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                          Page 1 of 1
Case 23-10831-MFW   Doc 994   Filed 02/15/24   Page 13 of 19




                    Exhibit E
                                                           Case 23-10831-MFW                        Doc 994         Filed 02/15/24               Page 14 of 19
                                                                                                            Exhibit E
                                                                                                      Core/2002 Service List
                                                                                                    Served via First Class Mail



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  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
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  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
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  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Building              820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
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  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay                                            Cayman
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  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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  Foxconn                              Foxteq Holdings Inc.                                               P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Integration Inc.                                            P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
  Attorney General of GA (emp
  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao            No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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                                                                         Centralized Insolvency
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  Financial Advisor to the Official
  Committee of Equity Security                                                                            1700 Broadway, 19th
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  operations)                          North Carolina Attorney General Attn Bankruptcy Department         9001 Mail Service Center                                             Raleigh           NC    27699-9001
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  operations)                          Ohio Attorney General             Attn Bankruptcy Department    30 E. Broad St. 14th Fl                                                 Columbus          OH    43215-0410
  Counsel to Foxconn                   Paul Hastings LLP                 Mike Huang, Kevin P. Broughel 200 Park Avenue                                                         New York          NY    10166
  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                        Banki Donatu utca 1                                              2900       Hungary
  Attorney General of PA (emp                                                                          16th Floor, Strawberry
  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                  Harrisburg        PA    17120
  Official Committee of Equity                                                                                                                                                                                      United
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                111 Park Street                                                      London                  W1K 7JL      Kingdom




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                                    Page 1 of 2
                                                        Case 23-10831-MFW                    Doc 994         Filed 02/15/24           Page 15 of 19
                                                                                                     Exhibit E
                                                                                               Core/2002 Service List
                                                                                             Served via First Class Mail



             Description                    CreditorName              CreditorNoticeName                   Address1             Address2              Address3               City   State      Zip       Country
  Top 30 and Committee of
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  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich         1307 Highview Drive                                              Webberville     MI      48892
                                   Securities & Exchange                                                                   100 Pearl St., Suite
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                                   Securities & Exchange                                                                                          1617 JFK
  SEC Regional Office              Commission                    PA Regional Office                Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury         100 F St NE                                                      Washington      DC      20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                        31240 Stephenson Hwy                                             Madison Heights MI      48071
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  operations)                      Texas Attorney General        Attn Bankruptcy Department        300 W. 15th St                                                   Austin          TX      78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware          1313 N Market Street    Hercules Building                        Wilmington      DE      19801




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                             Page 2 of 2
Case 23-10831-MFW   Doc 994   Filed 02/15/24   Page 16 of 19




                    Exhibit F
                                       Case 23-10831-MFW      Doc 994     Filed 02/15/24    Page 17 of 19
                                                                   Exhibit F
                                                          Objecting Party Service List
                                                          Served via First Class Mail

                                           Description    CreditorName     Address1        City State Zip
                                        Affected Claimant Rahul Singh  Address Redacted




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                           Page 1 of 1
Case 23-10831-MFW   Doc 994   Filed 02/15/24   Page 18 of 19




                    Exhibit G
                                       Case 23-10831-MFW       Doc 994     Filed 02/15/24    Page 19 of 19
                                                                    Exhibit G
                                                             Lienholders Service List
                                                            Served via First Class Mail

                                    CreditorName                     Address1                  City  State     Zip
                           COMPETITION ENGINEERING, INC     975 COMSTOCK STREET             MARNE    MI    49435-8751
                           HEWLETT-PACKARD FINANCIAL                                        BERKELEY
                           SERVICES COMPANY                 200 CONNELL DRIVE               HEIGHTS  NJ    07922
                           PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE        ROCKFORD MI    49341
                           PETERSON JIG AND FIXTURE, INC.   PO BOX 641                      ROCKFORD MI    49341




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                            Page 1 of 1
